     Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 1 of 20 PageID #: 1




                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION




     Spinelogik, Inc.,
                                                             Case No. 2:23-cv-529
                  Plaintiff,
                                                            JURY TRIAL DEMANDED
                  v.

     Globus Medical, Inc.,

                  Defendant.


                       ORIGRINAL COMPLAINT FOR PATENT INFRINGEMENT

          Spinelogik, Inc. (“Plaintiff”) hereby files this Original Complaint for Patent Infringement against

Globus Medical, Inc. (“Globus” or “Defendant”), and alleges, upon information and belief, as follows:

                                               THE PARTIES

1.        Spinelogik, Inc. is a corporation organized and existing under the laws of the State of Oregon

          with its principal place of business at 1203 Willamette Street, Suite 200, Eugene, Oregon 97401.

2.        Upon information and belief, Globus Medical, Inc. is a company organized and existing under

          the laws of the State of Delaware, and as shown below, with a place of business in this District in

          Tyler, Whitehouse, Bullard, McKinney and Plano, Texas. Upon information and belief,

          Defendant can be served with process upon its registered agent, Corporation Service Company

          d/b/a CSC-Lawyers Incorporating Service Company, located at 211 E. 7th Street, Suite 620,

          Austin, TX 78701.

                                        JURISDICTION AND VENUE

3.        This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331 and 1338(a).


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 1
     Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 2 of 20 PageID #: 2




4.      This Court has personal jurisdiction over Defendant because Defendant conducts business in and

        has committed acts of patent infringement in this District and the State of Texas and has

        established minimum contacts with this forum state such that the exercise of jurisdiction over

        Defendant would not offend the traditional notions of fair play and substantial justice.

5.      Defendant is subject to this Court’s general and specific jurisdiction pursuant to due process

        and/or the Texas Long Arm Statute due at least to Defendant’s substantial business in the State

        of Texas and this District, including through its past and ongoing infringing activities, because

        Defendant regularly does and solicits business herein, and/or because Defendant has engaged in

        persistent conduct and/or has derived substantial revenues from goods and services provided in

        the State of Texas and this District.

6.      Defendant transacts substantial business with entities and individuals in the State of Texas and

        this District, by among other things, willfully using the infringing methods and systems

        throughout the State of Texas and this District. Defendant relies on the infringing methods and

        systems to introduce and sell millions of products into the stream of commerce with the

        knowledge and expectation that they will be sold in the State of Texas and this District.

7.      Defendant maintains regular, physical, continuous, and established places of businesses,

        including places of business for team leaders of sales, sales operation managers and system

        network architects, in this District, which Defendant has established, ratified, and controlled;

        have employed people to conduct their business from this District; and from which they have

        willfully infringed the Asserted Patents in order to benefit themselves in this District. Defendant

        commits acts of infringement in this District, including as explained further below by making

        and using the infringing systems in, and performing at least one step of the accused methods of

        the Asserted Patents, at their regular and established places of business in this District.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               2
     Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 3 of 20 PageID #: 3




8.      Upon information and belief, Defendant has authorized sales/customer service agents in the

        Eastern District of Texas, including Kent Miller in Whitehouse, TX, as shown below

        (collectively “Customer Agents”). Defendant has a regular and established place of business in

        this District through the Customer Agents acting as agents. Defendant manifests assent to the

        Customer Agents that they shall act on Defendant’s behalf and subject to its control, and the

        Customer Agents manifest assent or otherwise consent to act. Defendant maintains “interim

        control” over the Customer Agents’ work, in which they rely on interactions and Defendant’s

        instructions within the scope of their work.




        See https://www.linkedin.com/in/kent-miller-a4a61536/ (screenshot of Kent Miller’s LinkedIn
        page, as “Associate Spine Specialist” of Defendant in Whitehouse, TX).

9.      Upon information and belief, the contracts between Defendant and the Customer Agents

        establish (1) Defendant has the right to direct and control the Customer Agents, (2) Defendant

        has manifested consent that Customer Agents act on its behalf, and (3) the Customer Agents


ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            3
      Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 4 of 20 PageID #: 4




         have consented to act on behalf of Defendant. The Customer Agents sell, monitor, train, oversee

         use, and handle complaints and returns, instruments and implants obtained from and on behalf of

         Defendant for customers in this District. Those activities involve storage, transport, training,

         monitor and exchange of goods and services and are part of Defendant’s business.

10.      Upon information and belief, Defendant has established and ratified the Customer Agents’ places

         of business because the contracts affect how they perform hospital set ups, approval of

         procedures to be performed at hospitals with Defendant products, sales, training, handling

         complaints, returns. Defendant also provides the Customer Agents with all information required

         to properly get products approved at hospitals.

11.      The Customer Agents in this district have fixed geographical locations. They are “regular” and

         “established” because they operate in a “steady, uniform, orderly, and methodical manner” and

         are sufficiently permanent. These locations are “of the defendant” because Defendant has

         contractual rights with them—authorized distributors in the United States.

12.      Defendant ratifies the Customer Agents’ locations because it exercises interim control over the

         Customer Agents’ activities and holds out to the public that Defendant’s distribution,

         warehousing, marketing and sales of the products are being performed at and by Customer

         Agents’ locations in this District.

13.      Defendant also has regular, physical presences of Defendant employees in this District

         conducting Defendant’s business. Defendant maintains a regular and established place of

         business at the Defendant defined places and separate areas at the Customer Agents’ locations by

         the regular, physical presence of its employees.

14.      As shown below, Defendant has employees in the Eastern District of Texas:




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             4
  Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 5 of 20 PageID #: 5




     See https://www.linkedin.com/in/brendan-miller-21b57b73/ (screenshot of Brendan Miller’s
     LinkedIn page, as “Spine Territory Manager” of Defendant in Bullard, TX).




     See https://www.linkedin.com/in/nick-norton-70a68722b/ (screenshot of Nick Norton’s LinkedIn
     page, as “Associate Spine Specialist” of Defendant in Tyler, TX).




     See https://www.linkedin.com/in/colt-david-b03a7277/ (screenshot of Colt David’s LinkedIn
     page, as “Surgical Sales” of Defendant in McKinney, TX).




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                       5
      Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 6 of 20 PageID #: 6




         See https://www.linkedin.com/in/colby-dalrymple-2a188592/ (screenshot of Colby Dalrymple’s
         LinkedIn page, as “Associate Spine Specialist” of Defendant in Plano, TX).

15.      As shown above, these employees are located in this District in Tyler, Whitehouse, Bullard,

         McKinney and Plano, Texas. Their locations within the Eastern District of Texas are important

         to the business performed and defendant had intention to maintain some place of business in the

         Eastern District of Texas in the event any employees decided to terminate their residences as a

         place there.

16.      Defendant’s employees also not merely possess inventory. Their use in the Eastern District of

         Texas part of Defendant’s services to its Eastern District of Texas customers, a job that falls on



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                               6
      Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 7 of 20 PageID #: 7




         these employees. When sample products or inventory arrive at these employees’ places of

         businesses, they then visit local customers to deliver or show the samples.

17.      Defendant has further solicited salespeople in public advertisements to cover the challenged

         venue area and preferred that those employees live in their assigned sales area. Their locations

         within the Eastern District of Texas are important to the business performed and defendant had

         intention to maintain some place of business in the Eastern District of Texas in the event any

         employees decided to terminate their residences as a place there.

18.      Defendant has regular, physical presences of Defendant employees in this District conducting

         Defendant’s business. Defendant maintains a regular and established place of business at the

         Defendant defined places and separate areas by the regular, physical presence of its employees.

19.      Venue is proper in this District as to Defendant pursuant to at least 28 U.S.C. §§ 1391(c)(2) and

         1400(b). As noted above, Defendant maintains a regular and established business presence in

         this District. See In re Monolithic Power Sys., Inc., 50 F.4th 157, 160 (Fed. Cir. 2022); see also

         AGIS Software Dev. LLC v. Google LLC, No. 2:19-CV-00361-JRG, 2022 WL 1511757, at *9

         (E.D. Tex. May 12, 2022); IOT INNOVATIONS LLC, Plaintiff, v. MONITRONICS

         INTERNATIONAL, INC., d/b/a BRINKS HOME, Defendant., No. 2:22-CV-0432-JRG-RSP, 2023

         WL 6318049, at *5 (E.D. Tex. Sept. 11, 2023), report and recommendation adopted sub nom.

         Iot Innovations LLC v. Monitronics Int'l, Inc., No. 222CV00432JRGRSP, 2023 WL 6300560

         (E.D. Tex. Sept. 27, 2023).

20.      Furthermore, venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391(b), 1391(c)

         and 1400(b) because, among other things, Defendant is subject to personal jurisdiction in this

         Judicial District, regularly conducted business in this Judicial District, certain of the acts




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                                 7
      Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 8 of 20 PageID #: 8




         complained of herein occurred in this Judicial District, and they are not residents in the United

         States and may be sued in any judicial district.

                               BACKGROUND AND PATENTS-IN-SUIT

21.      Plaintiff is the sole and exclusive owner, by assignment, of U.S. Patent Nos. 8,460,385 (“the

         ’385 Patent”) and 9,730,805 (“the ’805 Patent” and collectively the “Asserted Patents”) relating

         to spinal implants and surgical procedures for spinal fusion and stabilization.

22.      By operation of law, the Asserted Patents originally issued and exclusively vested to the named

         inventor, Dr. Jeffrey Paris Wensel, as of the issue date of the ’385 Patent. See 35 U.S.C. § 261;

         Schwendimann v. Arkwright Advanced Coating, Inc., 959 F.3d 1065, 1072 (Fed. Cir. 2020);

         Suppes v. Katti, 710 Fed. Appx. 883, 887 (Fed. Cir. 2017); Taylor v. Taylor Made Plastics, Inc.,

         565 Fed. Appx. 888, 889 (Fed. Cir. 2014). The inventors, in a written instrument, and filed with

         the United States Patent and Trademark Office, assigned all rights, title, and interest in the

         Asserted Patents to Spinelogik, Inc.

23.      The Asserted Patents valid, enforceable, and was duly issued in full compliance with Title 35 of

         the United States Code.

24.      The inventions described and claimed in the Asserted Patents were invented individually and

         independently by Dr. Jeffrey Paris Wensel.

25.      The Asserted Patents includes numerous claims defining distinct inventions. As represented in

         Figs. 1A, 16 and 26A of the Asserted Patents below, the inventions generally relate to spinal

         implants and surgical procedures for spinal fusion and stabilization.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              8
  Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 9 of 20 PageID #: 9




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                        9
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 10 of 20 PageID #: 10




26.   The priority date of the ’385 Patent is at least as early as May 1, 2008. As of the priority date,

      the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

27.   The priority date of the ’805 Patent is at least as early as March 17, 2008. As of the priority date,

      the inventions as claimed were novel, non-obvious, unconventional, and non-routine.

28.   Back and neck pain are the leading causes of disability and lost productivity for American

      workers under the age of 45. Degenerative disc disease and its sequelae, whereby the

      fibrocartilaginous disc between adjacent vertebral bodies loses height, hydration and structural

      integrity, is one of the most common causes of back and neck pain and may develop secondary

      to traumatic injuries, inflammatory processes or various degenerative disorders. When

      conservative treatment fails, surgical fusion of the vertebral segments across the abnormal disc

      may be the only currently available procedure for pain relief. An increasing number of these



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              10
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 11 of 20 PageID #: 11




      spinal fusions are performed each year. It is estimated that over half a million of these

      procedures were performed in the United States last year alone.

29.   Before the inventions of the Asserted Patents, approaches often failed due to inadequate

      structural integrity. Subsequently, cortical bone dowels and femoral ring allografts were

      employed in an attempt to restore disc space height and augment structural integrity. Other prior

      art devices incorporated or were coated with human bone morphogenetic protein or other agents

      to promote new bone formation and accelerate fusion. Despite these advancements, failure rates

      for spinal fusion surgeries remain unacceptably high, greater than 10 percent in most series.

30.   Therefore, there is a need in the art for an improved method to effect a more rapid, reliable

      fusion between unstable vertebral segments and avoid the considerable medical and economic

      impact of failed spinal fusions.

31.   The inventor of the Asserted Patents conceived new an apparatus that (1) delivers a fusion

      member between two vertebral bodies after at least a portion of the fibrocartilaginous disc

      between the vertebral bodies has been removed, and (2) affixes the fusion member to the

      vertebral bodies. In some embodiments, the apparatus includes (1) a fusion member that is

      delivered and positioned between the vertebral bodies, (2) a delivery mechanism that delivers

      and positions the fusion member between the vertebral bodies, and (3) an anchoring member that

      affixes the fusion member to the vertebral bodies.

32.   The Asserted Patents are pioneering and have been, respectively, cited as relevant prior art in 52

      and 54 subsequent United States Patent Applications, including Applications Assigned to

      Defendant and such technology leaders and academia as Genesys Spine, Alphatec Spine, Inc.,

      DePuy Synthes Products, Pinnacle Spine Group and In Queue Innovations.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                            11
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 12 of 20 PageID #: 12




33.   The claims of the Asserted Patents were all properly issued and are valid and enforceable for the

      respective terms of their statutory life through expiration and are enforceable for purposes of

      seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

      Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired

      patent is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value

      beyond its expiration date. For example, an expired patent may form the basis of an action for

      past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal citations

      omitted).

                          DEFENDANT’S INFRINGING PRODUCTS

34.   Upon information and belief, Defendant makes, sells, advertises, offers for sale, uses, or

      otherwise provides endoscopic targeting methods and systems, including, but not limited to, the

      COALITION MIS spacer, the CORBEL spacer, the HEDRON IA ALIF spacer, and the

      INDEPENDENCE MIS spacer (“Accused Instrumentalities”), that utilize the Asserted Patents’

      patented spinal implants methods and systems. On information and belief, these spinal implants

      systems and methods include, and as shown exemplary in the HEDRON IA ALIF spacer (see

      https://www.globusmedical.com/products/hedron-ia/):




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                          12
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 13 of 20 PageID #: 13




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                     13
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 14 of 20 PageID #: 14




      •   a fusion member configured to position between first and second vertebral bodies, the fusion

          member comprising a first curved channel and a second curved channel;

      •   a first anchoring member configured to insert through the first curved channel and partially

          into the first vertebral body while a portion of the first anchoring member remains within the

          fusion member, in order to couple the fusion member with the first vertebral body;

      •   a second anchoring member configured to insert through the second curved channel and

          partially into the second vertebral body while a portion of the second anchoring member

          remains within the fusion member, in order to couple the fusion member with the second

          vertebral body; and

      •   wherein the first curved channel has a first cross-sectional plane along a first path that is

          traversed by the first curved channel through the fusion member and the second curved

          channel has a second cross-sectional plane along a second path that is traversed by the

          second curved channel through the fusion member, wherein the first and second cross-

          sectional planes are parallel to each other, as invented in the Asserted Patents.

      •   a delivery mechanism for delivering the fusion member between the two vertebral bodies, the

          delivery mechanism extending outside a patient's body to a medical practitioner while the

          delivery mechanism is coupled to the fusion member and the fusion member is positioned

          between the two vertebral bodies, the delivery mechanism having a second plurality of

          channels, wherein each channel of the first plurality of channels is configured to be aligned

          with a different channel of the second plurality of channels when the delivery mechanism

          delivers the fusion member between the two vertebral bodies.

35.   As shown above, Defendant’s products include each and every limitation of at least, but not

      limited to, claim 1 of the Asserted Patents and therefore literally infringe these claims. Plaintiff



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             14
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 15 of 20 PageID #: 15




      reserves the right to assert additional claims and to assert infringement under the doctrine of

      equivalents in light of information learned during discovery or in view of this Court’s claim

      construction order.

                                            COUNT I
                             Infringement of U.S. Patent No. 8,460,385

36.   Plaintiff incorporates the above paragraphs by reference.

37.   Defendant without authority, made, used, sold, offered to sell, and/or imported into the United

      States its Accused Instrumentalities as shown above.

38.   Defendant thus has infringed at least claim 1 of the ’385 Patent literally and/or under the

      doctrine of equivalents.

39.   Defendant has also actively induced the infringement of at least one of claim 1 of the ’385

      Patent, in violation of 35 U.S.C. § 271(b), by, among other things, actively and knowingly aiding

      and abetting infringement of others through activities such as creating and/or distributing videos

      of use such as the videos above, brochures, manuals, instructional documents, and/or similar

      materials with instructions on creating, manufacturing, designing, assembling and/or

      implementing infringing products, with the specific intent to induce others to directly make, use,

      offer for sale, sell, and/or import into the United States products that fall within the scope of the

      ’385 Patent, without license or authority from Plaintiff. On information and belief, Defendant

      knows that the induced acts constitute infringement of the ’385 Patent.

40.   Defendant individually, collectively, or through others or intermediaries, has contributorily

      infringed in violation of 35 U.S.C. § 271(c), at least one claim of the ’385 Patent by making,

      using, offering for sale, selling, and/or importing, material parts of the inventions claimed in the

      ’385 Patent, which are not a staple article or commodity of commerce suitable for substantial




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              15
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 16 of 20 PageID #: 16




      non-infringing use, and knowing the accused parts to be especially made or especially adapted

      for use in an infringement of the ’385 claims.

41.   Defendant has been on actual notice of the ’385 Patent at least as early as September 2011, as it

      was cited it in Defendant’s own patent file histories, as shown below. Defendant’s direct and

      indirect infringement of the ’385 Patent has thus been committed with knowledge of the ’385

      Patent, making Defendant liable for direct, indirect, and willful infringement.




      See https://patents.google.com/patent/US9730805B1/en?oq=9%2c730%2c805#citedBy
      (screenshot of Google Patent list of “Cited By” patents and applications for the ’805 Patent).

42.   Plaintiff has been damaged because of the infringing conduct by Defendant alleged above. Thus,

      Defendant is liable to Plaintiff in an amount that adequately compensates it for such

      infringement, which, by law, cannot be less than a reasonable royalty, together with interest and

      costs as fixed by this Court under 35 U.S.C. § 284.

43.   Plaintiff and/or its predecessors-in-interest have satisfied all statutory obligations required to

      collect pre-filing damages for the full period allowed by law.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                             16
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 17 of 20 PageID #: 17




                                            COUNT 2
                             Infringement of U.S. Patent No. 9,730,805

44.   Plaintiff incorporates the above paragraphs by reference.

45.   Defendant without authority, made, used, sold, offered to sell, and/or imported into the United

      States its Accused Instrumentalities as shown above.

46.   Defendant thus has infringed at least claim 1 of the ’385 Patent literally and/or under the doctrine

      of equivalents.

47.   Defendant has also actively induced the infringement of at least one of claim 1 of the ’805

      Patent, in violation of 35 U.S.C. § 271(b), by, among other things, actively and knowingly aiding

      and abetting infringement of others through activities such as creating and/or distributing videos

      of use such as the videos above, brochures, manuals, instructional documents, and/or similar

      materials with instructions on creating, manufacturing, designing, assembling and/or

      implementing infringing products, with the specific intent to induce others to directly make, use,

      offer for sale, sell, and/or import into the United States products that fall within the scope of the

      ’805 Patent, without license or authority from Plaintiff. On information and belief, Defendant

      knows that the induced acts constitute infringement of the ’805 Patent.

48.   Defendant individually, collectively, or through others or intermediaries, has contributorily

      infringed, and/or is contributorily infringing, in violation of 35 U.S.C. § 271(c), at least one

      claim of the ’805 Patent by making, using, offering for sale, selling, and/or importing, material

      parts of the inventions claimed in the ’805 Patent, which are not a staple article or commodity of

      commerce suitable for substantial non-infringing use, and knowing the accused parts to be

      especially made or especially adapted for use in an infringement of the ’805 claims.

49.   Defendant has been on actual notice of the ’805 Patent at least as early as September 2011, as it

      was cited it in Defendant’s own patent file histories, as shown below. Defendant’s direct and



ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              17
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 18 of 20 PageID #: 18




       indirect infringement of the ’805 Patent has thus been committed with knowledge of the ’805

       Patent, making Defendant liable for direct, indirect, and willful infringement.




       See https://patents.google.com/patent/US9730805B1/en?oq=9%2c730%2c805#citedBy
       (screenshot of Google Patent list of “Cited By” patents and applications for the ’805 Patent).

50.    Plaintiff has been damaged because of the infringing conduct by Defendant alleged above. Thus,

       Defendant is liable to Plaintiff in an amount that adequately compensates it for such

       infringement, which, by law, cannot be less than a reasonable royalty, together with interest and

       costs as fixed by this Court under 35 U.S.C. § 284.

51.    Plaintiff and/or its predecessors-in-interest have satisfied all statutory obligations required to

       collect pre-filing damages for the full period allowed by law.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the Court enter judgment against Defendant as

follows:

       1.     Declaring that Defendant has infringed the Asserted Patents;




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                              18
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 19 of 20 PageID #: 19




     2.     Awarding Plaintiff its damages suffered because of Defendant’s infringement of the

            Asserted Patents;

     3.     Awarding Plaintiff its costs, reasonable attorneys’ fees, expenses, and interest;

     4.     An award to Plaintiff of enhanced damages, up to and including trebling of Plaintiff’s

            damages pursuant to 35 U.S.C. § 284 for Defendant’s willful infringement of the

            Asserted Patents; and

     5.     Granting Plaintiff such further relief as the Court finds appropriate.

                                         JURY DEMAND

     Plaintiff demands trial by jury, under Fed. R. Civ. P. 38.




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                                      19
 Case 2:23-cv-00529-JRG-RSP Document 1 Filed 11/17/23 Page 20 of 20 PageID #: 20




                                        Respectfully Submitted

                                        /s/ Christopher A. Honea
                                        M. Scott Fuller
                                           Texas Bar No. 24036607
                                           sfuller@ghiplaw.com
                                        Randall Garteiser
                                           Texas Bar No. 24038912
                                           rgarteiser@ghiplaw.com
                                        Christopher A. Honea
                                           Texas Bar No. 24059967
                                           chonea@ghiplaw.com

                                        GARTEISER HONEA, PLLC
                                        119 W. Ferguson Street
                                        Tyler, Texas 75702
                                        Telephone: (903) 705-7420

                                        Hao Ni
                                        Texas Bar No. 24047205
                                        hni@nilawfirm.com
                                        Neal Massand
                                        Texas Bar No. 24039038
                                        nmassand@nilawfirm.com

                                        NI, WANG & MASSAND, PLLC
                                        8140 Walnut Hill Ln., Ste. 615
                                        Dallas, TX 75231
                                        Tel: (972) 331-4600
                                        Fax: (972) 314-0900

                                        ATTORNEYS FOR PLAINTIFF




ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT                                     20
